Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 1 of 6




                        EXHIBIT 4
               Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 2 of 6




(https://gunfreedomradio.com)


Our Guests: Mark Walters, Armed American
                 Radio




      About Mark Walters, Armed American Radio
      Mark Walters is the syndicated host of two national radio programs, Armed American Radio and
      Armed American Radio’s Daily Defense with Mark Walters.

      Mark’s voice can be heard on over 200 radio stations in hundreds of cities 6 days a week across
      America. He is the co-author of of three critically acclaimed books, Lessons from Armed America,
      Lessons from Unarmed America, and Grilling While Armed. He is a member of the Board of Directors
      of the Citizens Committee for the Right to Keep and Bear Arms. Mark is married with two children and
      currently resides in Northern Georgia with his family.
         Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 3 of 6
Mark is the 2015 recipient of the prestigious Gun Rights Defender of the Year award and the 2017
Distinguished Service Award from the Second Amendment Foundation. He is a sitting member of the
Board of Directors of the Citizens Committee for the Right to Keep and Bear Arms and has appeared
on numerous national and international television and radio programs defending the right to bear
arms. Mr. Walters writes as a guest columnist for Breitbart News and Ammoland.

Armed American Radio Focusing on the Second Amendment and everything related to the
topic, Armed American Radio and Armed American Radio’s Daily Defense with Mark Walters bring a
unique blend of conservative talk, humor and the hard-hitting truth about the fundamental right to bear
arms that the mainstream media wouldn’t dare discuss.

Carried across the US in Houston, Washington D.C., Atlanta, Boston, Seattle, Detroit, Phoenix,
Minneapolis, Denver, Tampa and on over 200 other terrestrial stations, Armed American Radio’s
Sunday Broadcast began its 10th season on 4/26/2018.

Show topics include but are not limited to:

       Constitutional Rights
       The Politics of Guns
       Safety and Training Issues
       Political Efforts to Infringe on Your Freedoms
       Gun-Grabber Groups and Their Lies
       New Products
       Living a Concealed Carry Lifestyle
       Concealed Carry Techniques and Methods
       Grilling While Armed
       And Everything Else Related to Your Right to Keep and Bear Arms.

Host Mark Walters makes absolutely NO apologies for defending your freedoms and your GOD-
GIVEN right to defend yourself and your family, a right so eloquently enshrined in our Constitution.
The 2nd Amendment IS NOT UP FOR DEBATE on Armed American Radio and Armed American
Radio’s Daily Defense with Mark Walters.


Shows Featuring Mark Walters, Armed
American Radio
2197

  GunFreedomRadio EP371 America, More Armed Than Ever with Mark Walters
  (https://gunfreedomradio.com/broadcasts/gunfreedomradio-ep371-title-with-guest-originally-
  aired-2-16-22/)

  GunFreedomRadio EP134 Hr.1 How Do You Vote?
  (https://gunfreedomradio.com/broadcasts/gunfreedomradio-ep134-how-do-you-vote/)
      Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 4 of 6
Places you can find Mark Walters, Armed American Radio
                Armed American Radio      (https://armedamericanradio.org/)
              AAR Station List    (https://armedamericanradio.org/station-list/)
            Facebook: AAR    (https://www.facebook.com/armedamericanradio)
                   Twitter: Mark Walters    (https://twitter.com/aarmark)
                      Twitter: USCCA     (https://twitter.com/USCCA)
  Book: Lessons From Armed America     
                                       (https://www.amazon.com/Lessons-Armed-America-
         Kathy-Jackson/dp/1453685553/ref=sr_1_1?ie=UTF8&qid=1541115808&sr=8-
                        1&keywords=lessons+from+armed+america)


 Book: Lessons From Unarmed America     (https://www.amazon.com/Lessons-armed-America-
        Personal-Defense/dp/1618080776/ref=sr_1_2?ie=UTF8&qid=1541115878&sr=8-
                        2&keywords=lessons+from+armed+america)
Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 5 of 6
Case 1:23-cv-03122-MLB Document 35-5 Filed 10/13/23 Page 6 of 6
